Case 3:09-cv-02384-N-BQ Document 1151 Filed 01/19/22             Page 1 of 7 PageID 97633



                      IN THE UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION

 IN RE: STANFORD ENTITIES                     §
 SECURITIES LITIGATION                        §
                                              §
        Rotstain, et al. v. Trustmark Nat’l   §          MDL No. 2099
        Bank, et al., 3:09-CV-2384-N          §
                                              §

                         SUGGESTION OF REMAND TO THE
                          SOUTHERN DISTRICT OF TEXAS

        Pursuant to Panel Rule 10.1, this Court respectfully recommends that the Judicial

 Panel on Multidistrict Litigation (“JPML”) remand Rotstain, et al. v. Trustmark Nat’l Bank,

 et al., No. 3:09-CV-2384-N to the Southern District of Texas.

                           I. HISTORY OF THE STANFORD MDL

        R. Allen Stanford created and perpetrated a Ponzi scheme that has given rise to

 much litigation. Stanford created and owned Stanford International Bank, Ltd. (SIB),

 located in the Commonwealth of Antigua and Barbuda, and a complex web of related

 companies. Stanford sold certificates of deposit (“CDs”) to the investing public, promising

 buyers high rates of return. Stanford represented to prospective investors that their funds

 would be reinvested in high-quality securities, which would yield high rates of return

 guaranteed by the CDs. Stanford, however, funneled the investors’ funds into speculative

 private equity investments and also used the funds to support his extravagant lifestyle. As

 early as 1999, Stanford began using the vast majority of new investor funds to pay the

 promised returns to prior investors. This scheme allowed Stanford to continue selling

 additional CDs to yet more prospective investors. It is not clear when the scheme began,
 ORDER – PAGE 1
Case 3:09-cv-02384-N-BQ Document 1151 Filed 01/19/22             Page 2 of 7 PageID 97634



 but Stanford’s Chief Financial Officer determined that the Ponzi scheme began and was

 insolvent as early as 1999, until it began to unravel in October 2008. By the time the

 scheme collapsed in February 2009, the Stanford entities had liabilities exceeding $7

 billion from the sale of fraudulent CDs. Stanford was prosecuted for and convicted of

 numerous federal offenses.

        The Securities and Exchange Commission (the “SEC”) brought a civil suit in this

 District against Stanford, his agents, and his corporations on February 16, 2009. The SEC

 asked the Court to appoint a receiver for Stanford and his companies in order to preserve

 the Stanford corporations’ resources and pursue the corporations’ assets that were in the

 hands of third parties as a result of fraudulent conveyances. This Court then appointed

 Ralph S. Janvey (the “Receiver”) as receiver and authorized him to commence any actions

 necessary to recover assets of the Receivership Estate.

        The SEC’s filing of the receivership instituted a flood of litigation in both federal

 and state courts. By Order dated October 6, 2009, the JPML centralized the federal

 Stanford litigation in this Court. In re Stanford Entities Litig., 655 F. Supp. 2d 1360

 (J.P.M.L. 2009). The Panel’s rationale for MDL centralization was that “[a]ll actions arise

 out of the alleged $8 billion fraud” perpetrated by R. Allen Stanford through the Stanford

 companies he controlled. The Panel further reasoned that common factual questions

 existed, involving “alleged misrepresentations or omissions relating to the safety of

 Stanford investments.”    Id.   These included whether “claims focus on (1) alleged

 misrepresentations or omissions by Stanford, (2) insurance coverage letters used by



 ORDER – PAGE 2
Case 3:09-cv-02384-N-BQ Document 1151 Filed 01/19/22              Page 3 of 7 PageID 97635



 Stanford to promote its investments or (3) the alleged role of the Commonwealth of

 Antigua and Barbuda in the alleged Stanford fraud . . . .” Id.

        The receivership has proceeded along five fronts: (1) primary claims against

 Stanford and the Stanford principals; (2) establishment of an investor claims and

 distribution procedure; (3) asset recovery; (4) clawback litigation against certain Stanford

 investors and employees; and (5) third-party litigation against other entities (bankers,

 insurers, accountants, lawyers, etc.) that the Receiver believed had facilitated the Stanford

 Ponzi scheme.

        Stanford and the Stanford principals were criminally prosecuted in the Southern

 District of Texas and were either found guilty or pled guilty. The SEC obtained summary

 judgment against Stanford in the receivership action. In connection with asset recovery,1

 the Receiver took control over Stanford’s books and records and has completed an

 extensive forensic analysis of those records. The Stanford principals have been deposed

 from prison, and the Receiver’s forensic expert has testified and been deposed multiple

 times. The Receiver has established a document repository for the recovered Stanford

 records and established procedures for litigants to obtain access to those materials.

        The first three fronts of the receivership are substantially complete. This Court

 fervently hopes that the clawback and third-party litigation are winding down.




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  The Receiver’s asset recovery efforts were complicated by the existence of a parallel
 receivership process under the auspices of the government of Antigua and Barbuda, which
 had arguably sheltered the Stanford enterprises.

 ORDER – PAGE 3
Case 3:09-cv-02384-N-BQ Document 1151 Filed 01/19/22              Page 4 of 7 PageID 97636



                                  II. REMAND STANDARD

        Section 1407 states that “[e]ach action so transferred shall be remanded by the panel

 at or before the conclusion of such pretrial proceedings to the district from which it was

 transferred unless it shall have been previously terminated.”        28 U.S.C. § 1407(a).

 However, it is “not contemplated that a Section 1407 transferee judge will necessarily

 complete all pretrial proceedings in all actions transferred and assigned to him by the Panel

 . . . .” In re Evergreen Valley Project Litig., 435 F. Supp. 923, 924 (J.P.M.L. 1977).

 Instead, the transferee judge “in his discretion will conduct the common pretrial

 proceedings with respect to the actions and any additional pretrial proceedings as he deems

 otherwise appropriate.” Id. Therefore, in considering remand, the Panel is “greatly

 influenced by the transferee judge’s suggestion that remand of the action is appropriate.”

 Id.; see also In re Data Gen. Corp. Antitrust Litig., 510 F. Supp. 1220, 1226-27 (J.P.M.L.

 1979) (per curiam).      Moreover, courts “routinely suggest remand despite pending

 dispositive motions . . . and the JPML has repeatedly remanded cases under such

 circumstances.” In re Activated Carbon-Based Hunting Clothing Mktg. & Sales Practices

 Litig., 840 F. Supp. 2d 1193, 1200 (D. Minn. 2012); see, e.g., In re Baseball Bat Antitrust

 Litig., 112 F. Supp. 2d 1175, 1177 (J.P.M.L. 2000).

                  III. THIS COURT RESPECTFULLY SUGGESTS REMAND

        In the dozen years since the JPML ordered this case transferred as part of the

 Stanford MDL, it has undergone significant changes. A high-level summary of the

 procedural history, the Court believes, will best serve the purposes of this suggestion.



 ORDER – PAGE 4
Case 3:09-cv-02384-N-BQ Document 1151 Filed 01/19/22             Page 5 of 7 PageID 97637



        Pursuant to an order of the JPML, this case was transferred to this court from the

 Southern District of Texas in December 2009. The original plaintiffs, a group of defrauded

 investors, brought this action against several banks as a putative class action asserting

 statutory and common law causes of action. After the initiation of this case, the Court

 approved the creation of an entity called the Official Stanford Investor’s Committee

 (“OSIC”).    OSIC has similar rights and responsibilities as a bankruptcy creditors’

 committee appointed under Title 11 of the United States Code. See generally Aug. 10,

 2010 Order [1149], in SEC v. Stanford Int’l Bank, Ltd., Civil Action No. 3:09-CV-0298-N

 (N.D. Tex. filed Feb. 17, 2009). OSIC moved to intervene in the case, which the Court

 granted. After denying in whole or in part numerous motions to dismiss, the case

 proceeded to the class certification stage. The Court ultimately denied the motion for class

 certification, from which point forward the plaintiffs consisted of several individual named

 plaintiffs and OSIC.

        Following denial of class certification, discovery proceeded. That process ended in

 late 2020, and the defendants subsequently filed motions for summary judgment.

 Contemporaneous with this Suggestion, the Court has issued an Order granting in part and

 denying in part the defendants’ motions for summary judgment.

        The ripe motions that remain pending at this point may broadly be grouped as

 follows:

       Motion to Set Trial Date
       Two Motions for Leave to Designate Responsible Third Parties
       Motion to Sever
       Numerous Daubert Motions
       Plaintiff OSIC’s Partial Motion for Summary Judgment
 ORDER – PAGE 5
Case 3:09-cv-02384-N-BQ Document 1151 Filed 01/19/22                Page 6 of 7 PageID 97638



     Defendant TD Bank’s Motion for Leave to File a Second Motion for Summary
      Judgment

 The Court respectfully suggests that the proper time to remand the case to the Southern

 District of Texas has arrived. The Defendants’ motions for summary judgment addressed

 all claims in the case and may have obviated the need for trial as to one or more of the

 Defendants. The Court has recently addressed these motions, concluding that triable issues

 exist. The case will need to be remanded at some point so that trial may proceed in the

 Southern District.

        Of the above outstanding motions, the first four motions deal explicitly with the

 manner in which the trial will be conducted. The power to resolve these matters properly

 lies with the judge who will preside over the trial.

        The Court believes that, on balance, the final two motions in the above list are best

 left to the discretion of the trial judge. The Court’s familiarity with the complexities of this

 case, developed over more than a decade, made it uniquely positioned to address the suite

 of motions to dismiss filed by the Defendants. Several of the grounds for summary

 judgment, for example, raised objections already considered at the motion to dismiss stage.

 Addressing these required only that the Court revisit issues with which it was familiar

 against a slightly different standard. Furthermore, as previously noted, these motions may

 have obviated the need for trial altogether. By contrast, the remaining motions (OSIC’s

 partial motion for summary judgment and the motion for summary judgment that TD Bank

 wishes to file) focus on the preclusive effect of foreign judgments.            Because these

 objections are 1) much narrower in scope than the all-encompassing motions originally

 ORDER – PAGE 6
Case 3:09-cv-02384-N-BQ Document 1151 Filed 01/19/22               Page 7 of 7 PageID 97639



 filed by defendants and 2) have the capacity to influence the scope of issues presented at

 trial in the Southern District, the Court believes that the discretion to resolve these motions

 should reside with the court tasked with overseeing the trial. Accordingly, the Court

 respectfully recommends that the JPML remand this case to the Southern District of Texas.

        The District Clerk is instructed to direct a copy of this Order to the Judicial Panel

 on Multidistrict Litigation forthwith.

        Signed January 19, 2022.


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                                                                  David C. Godbey
                                                             United States District Judge




 ORDER – PAGE 7
